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                                MEMO ENDORSED
                                                            December 23, 2020



 BY EMAIL

 The Honorable Katherine Polk Failla
 United States District Judge
 Southern District of New York
 40 Foley Square
 New York, New York 10007

                              Re:      United States v. Amin Majidi
                                       18 Cr. 328 (KPF)

 Dear Judge Failla:

                 We represent Amin Majidi in the above-referenced matter. We write to request
 that the date for Mr. Majidi’s sentencing, currently scheduled for February 10, 2021, be
 adjourned for approximately 90 days. We make this request in order to allow Mr. Majidi’s
 sentencing and the presentence submissions to occur after the resolution of the post-trial
 litigation pending before this Court. The government consents to this request.


                                                            Respectfully,



                                                            Brian D. Linder
                                                            Seth L. Rosenberg



 cc:    Max Nicholas
        Andrea Griswold
        Joshua Naftalis
         Assistant U.S. Attorneys
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Application GRANTED. Mr. Majidi's sentencing is hereby ADJOURNED to
May 12, 2021, at 3:00 p.m.



Dated:   January 6, 2021                 SO ORDERED.
         New York, New York



                                         HON. KATHERINE POLK FAILLA
                                         UNITED STATES DISTRICT JUDGE
